                                         Case 3:17-cr-00533-EMC Document 1126 Filed 08/08/20 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     UNITED STATES OF AMERICA,                        Case No. 17-cr-00533-EMC-1
                                   8                    Plaintiff,
                                                                                          ORDER REGARDING PROTOCOL
                                   9             v.                                       FOR DAUBERT HEARING
                                                                                          SCHEDULED AUGUST 18, 2020
                                  10     JONATHAN JOSEPH NELSON,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The attached Protocol is in effect for Daubert Hearing set to occur August 18, 2020 at

                                  14   9:00AM in Courtrooms 9 and 8, 19th Floor, 450 Golden Gate Avenue, San Francisco, CA. and

                                  15   subsequent hearing dates thereafter.

                                  16          IT IS SO ORDERED.

                                  17   Dated: August 8, 2020

                                  18

                                  19                                                  ______________________________________
                                                                                       EDWARD M. CHEN
                                  20                                                   United States District Judge
                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
